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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

EARL PARRIS, JR., individually, and
on behalf of a class of persons similarly
situated,

        Plaintiff,
                                            Case No. 4:21-CV-00040-TWT
CITY OF SUMMERVILLE,
GEORGIA                                     Hon. Thomas W. Thrash Jr.

       Intervenor-Plaintiff

v.

3M COMPANY, et al.,

        Defendants.

                CERTIFICATE OF INTERESTED PERSONS AND
                  CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1 and LR 3.3, NDGa, the

undersigned, counsel of record for Defendant E. I. du Pont de Nemours and

Company (“EID”), states as follows:

     1. The undersigned counsel of record for EID certifies that the following is
        a full and complete list of all parent corporations and any publicly held
        corporation that owns 10% or more of its stock, as known at this time:

     EID is a publicly-held corporation and no publicly-held corporation owns
10% or more of EID’s stock.
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  2. The undersigned further certifies that the following is a full and complete
     list of all other persons, associations, firms, partnerships, or corporations
     having either a financial interest in or other interest which could be
     substantially affected by the outcome of this particular case, as known at
     this time:

 Name:                                          Identification & Relationship:
 3M Company                                     Defendant
 Daikin America, Inc.                           Defendant
 Pulcra Chemicals, LLC                          Defendant
 Mount Vernon Mills, Inc.                       Defendant
 Town of Trion, Georgia                         Defendant
 Huntsman International, LLC                    Defendant
 E.I. du Pont de Nemours and Company            Defendant
 The Chemours Company                           Defendant
 Earl Parris, Jr.                               Plaintiff
 Ron Dejuan Jarrett                             Cross-Claimant
 City of Summerville, Georgia                   Intervenor Plaintiff
 Counsel for aforementioned parties


  1. The undersigned further certifies that the following is a full and complete
     list of all persons serving as attorneys for the parties in this proceeding,
     as known at this time:

Counsel for 3M Company:

     Emma H. Cramer, Monica P. Witte, William C. McFerren, Robert B. Remar,
     and Sterling G. Culpepper, III of Smith, Gambrell & Russell, LLP

     Jackson R. Sharman, III, M. Christian King, Harlan I. Prater, IV, W. Larkin
     Radney, IV, Benjamin P. Harmon, and Tatum Jackson Harmon of Lightfoot,
     Franklin and White LLC




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Counsel for Daikin America, Inc.

      Christopher L. Yeilding and James L. Hollis of Balch & Bingham, LLP

      James R. Saywell, Theodore M. Grossman, Jeffrey Kaplan, Jr., and Richard
      H. Deane, Jr. of Jones Day, LLP

Counsel for Pulcra Chemicals, LLC

      E. Peyton Nunez, Robert D. Mowrey, and Christopher M. Zygmot of
      Kazmarek, Mowrey, Cloud, Laseter, LLP

Counsel for Mount Vernon Mills, Inc.

      Thomas M. Bailey, Kadeisha West, and William M. Droze of Troutman,
      Pepper, Hamilton, Sanders, LLP

Counsel for Town of Trion, Georgia

      Ann Marie Alexander, Erich P. Nathe, Katie S. Lonze, and Kimberly Council
      Sheridan of Gordan, Rees, Scully, Mansukhani LLP

Counsel for Huntsman International, LLC

      Insiya F. Aziz, Jean C. Frizzell, Solace K. Southwick, and Zach Burford of
      Reynolds Frizzell LLP

      Benjamin E. Fix and Laurie A. Taylor of Bondurant Mixson & Elmore, LLP

Counsel for E.I. du Pont de Nemours and Company and The Chemours Company

      Blair Cash of Moseley Marcinak Law Group LLP

      John M. Johnson, Lana A. Olson, R. Ashby Pate, Meghan S. Cole, and Mary
      Parrish McCracken of Lightfoot, Franklin & White, LLC




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Counsel for Earl Parris, Jr.

      Gary Davis of Davis Attorneys, P.C.

      Jeffrey J. Dean and Thomas Causby of Morris & Dean, LLC

Counsel for Ron Dejuan Jarrett

      Craig K. Pendergrast and Daniel H. Weigel of Taylor English Duma LLP

Counsel for City of Summerville, Georgia

      Jeffrey E. Friedman and Lee Patterson of Friedman, Dazzio & Zulanas, P.C.

      Jesse A. Davis of Brinson Askew Berry Siegler Richardson & Davis, LLP


      Dated: January 27, 2023       Respectfully submitted,

                                    /s/ Meghan S. Cole

                                    John M. Johnson
                                    Lana A. Olson
                                    Robert Ashby Pate
                                    Meghan S. Cole
                                    Mary Parrish McCracken
                                    Lightfoot, Franklin & White, LLC
                                    400 20th Street North
                                    Birmingham, Alabama 35203
                                    (205) 581-0700

                                    Blair Cash
                                    Georgia Bar No. 360457
                                    Moseley Marcinak Law Group LLP
                                    P.O. Box 1688
                                    Kennesaw, Georgia 30156
                                    (470) 480-7258
                                    Email: blair.cash@momarlaw.com

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                            Attorneys for Defendant, E.I. du Pont de
                            Nemours and Company




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
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EARL PARRIS, JR., individually, and
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      Plaintiff,
                                                Case No. 4:21-CV-00040-TWT
CITY OF SUMMERVILLE,
GEORGIA                                         Hon. Thomas W. Thrash Jr.

      Intervenor-Plaintiff

v.

3M COMPANY, et al.,

      Defendants.

                         CERTIFICATE OF SERVICE
                   AND COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that I have this date electronically filed the within and

foregoing, which has been prepared using 14-point Times New Roman font, with

the Clerk of the Court using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record.

      Dated: January 27, 2023           Respectfully submitted,

                                        /s/ Meghan S. Cole

                                        John M. Johnson


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                            Lana A. Olson
                            Robert Ashby Pate
                            Meghan S. Cole
                            Mary Parrish McCracken
                            Lightfoot, Franklin & White, LLC
                            400 20th Street North
                            Birmingham, Alabama 35203
                            (205) 581-0700

                            Blair Cash
                            Georgia Bar No. 360457
                            Moseley Marcinak Law Group LLP
                            P.O. Box 1688
                            Kennesaw, Georgia 30156
                            (470) 480-7258
                            Email: blair.cash@momarlaw.com

                            Attorneys for Defendant, E.I. du Pont de
                            Nemours and Company




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